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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

JEVAN SNEAD,                               §      CIVIL NO. 5:16-cv-01134-OLG
Individually and on Behalf of All          §
Others Similarly Situated                  §
       Plaintiff,                          §
                                           §      COLLECTIVE ACTION
VS.                                        §
                                           §
EOG RESOURCES, INC.,                       §
     Defendant.                            §      JURY TRIAL DEMANDED

       [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
      JUDGMENT ON THE PLEADINGS OF COUNTER-CLAIMS FOR
           INDEMNIFICATION, BREACH OF CONTRACT, AND
                      UNJUST ENRICHMENT

       On this day, came on to be heard Plaintiff’s Motion for Judgment on the

Pleadings of Counter-claims for Indemnification, Breach of Contract, and Unjust

Enrichment pursuant to Rule 12(c) of the Federal Rules of Civil Procedure (the

“Motion”). The court, having reviewed the Motion and the parties’ briefing on it, is of

the opinion that the Motion should be granted. It is therefore, ORDERED that the

Motion is GRANTED. It is further:

       ORDERED that the Defendant’s counter-claims for Breach of Contract,

Indemnification, and Unjust Enrichment are dismissed with prejudice.



       Signed this _____ day of _______________, 2017



                                           ___________________________________
                                           ORLANDO GARCIA
                                           UNITED STATES DISTRICT JUDGE



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